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Clearview Al
15 West 72nd St. - 23rd Fl
New York, NY 10023

fs

his SERVICE AGREEMENT

Parties. Ti Service Agreement (hereinafter referred to as “Service Agreement”) is made and entered
onthe dayof Oe nee 2019 and is by and between State of Louisions, though
Jefferson Parish Sheriffs Office, 1233 W: Expressway, Hervey, LA 70058 the “CHent
Clearview AI, Inc. (“CV”), ; =

Services. The purpose of this Service Agreement is to establish the terms end conditions under which the

Esch User Account Incindes:
« Unlimited Use of CV's Proprietary Research System for its Licensed Users.
* Unlimited Access to CV's Proprietary Image Database for its Licensed Users,
¢ Each Licensed User Account Includes iPhone or Android CV Application
6 Each Licensed User Account Includes Lap/Deaktop Versions of CV Program
* Help-Desk Support

Term of Service Acreemeut. The term of this Service Agreement shall commence on the day of

, 2019. This Service Agreement may be terminated by any of the signatories with thirty (30) day
written notice given fo the other party. The Program may be extended by mutual consent in writing for an
additional 12-month subscription at the end of each eubscription term

Compensation, For performance of duties described herein, the Client agrees to CV twen
thousand Dollars ($25,000) within 30 days of execution of this Service Agreement. = ty five

Usaze Guldetines. It is understood by the Clieat that search results established through CV and ite related
systems and technologies are indicative and not definitive. CV makes no guarantees #s to the accuracy of
its search-identification software. The Client must conduct further research in order to verify identities or
other data generated by the CV system. CV is neither designed nor intended to be used as a tingle-source
system far establishing the identity of an individual. Furthermore, CV is neither designed nor intended to
be used as evidence in a court of law. CV shall aot store the images or data uploaded by Client into the
search-identification software and chall not allow the images or data uploaded by Client to be searchable
by other clients of CV. CV shail only release the images or data uploaded by Client into the search
identification software to Client and the law enforcement agency identified by CHent as the agency who
supplied Client with the uploaded images or data.

PLAINTIFF'S
EXHIBIT

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IN WITNESS WHEREOF THE BELOW PARTIES EXECUTE THIS AGREEMENT.

JEFFERSON PARISH SHERIFF'S OFFICE CLEARVIEW AI, INC.
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Signaty/re , ignature 2
By:_-2 (2?) AN By: Jessica M. Garrison
Its: —! i It: Authorized Agent

